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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

MERROR WORLDS TECHNOLOGIES, LLC,

Plaintiff, 17-cv-3473 (JGK)
- against - OPINION AND ORDER
FACEBOOK, INC.,
Defendant.

 

JOHN G. KOELTL, District Judge:

The plaintiff, Mirror Worlds Technologies, LLC (“Mirror
Worlds”) brought this patent infringement suit against Facebook,
Inc., alleging that three systems within Facebook’s social media
platform infringe three patents owned by Mirror Worlds.

Mirror Wortds owns U.S. Patent Nos. 6,006,227, 7,865,538,
and 8,255,439, “which describe and claim systems and methods for
presenting and storing data in time-ordered streams on a

computer system.” Mirror Worlds Techs., LLC v. Facebook, Inc.,

 

800 F. App’x 901, 902 (Fed. Cir. 2020).* The ’227 patent issued
from an application filed in 1996. The 1538 and ‘A439 patents
claim priority to the "227 patent.

The '227 patent states that, as of its priority date,

conventional computers used hierarchical directories to store

 

1 Unless otherwise noted, this Opinion and Order omits all alterations,
citations, footnotes, and internal quotation marks in quoted text.

 
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and organize data. '227 patent, col. 1, lines 21-30.% When
creating a new document under that conventional system, users
were required to name the document and choose a storage location
within a pre-existing directory structure. Id. The patent states
that this system had several disadvantages, including: needless
overhead, file names that were often meaningless to the user,
and requiring the user to remember a given document’s name as
well as where that document was stored. See id., col. 1, lines
40-59. As an alternative system, the '227 patent describes
storing documents in a chronologically ordered “stream.” Id.,
col. 1, lines 4-6.

The ‘227 patent defines a “stream” as “a time-ordered
sequence of documents that functions as a diary of a person or
an entity’s electronic life. Every document created and every
document sefi[t] to a person or entity is stored in a main
stream.” Id., col. 4, lines 6-10. A stream contains documents
from the past and present, and also couid contain “documents _
allotted to future times and events, such as[] reminders,
calendar items, and to~do lists.” Id., col. 4, lines 18-21. The
patent explains that “[a] document can contain any type of
data,” including “pictures, correspondence, bills, movies, voice

mail and software programs.” Id., col. 4, lines 16-18.

 

2 As the parties did in their briefs, the Court will refer primarily to the
specification of the '227 patent, Unless otherwise noted, citations to the
‘227 patent apply to all three patents at issue. See ECF No. 241, at 3 n.2;
ECF No. 288, at 5 n.3.

 
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In addition to a “main stream,” which contains every
document in a given computer system, the patent describes
“substreams.” A substream is a “subset” of the main stream. Id.,
col. 5, lines 16-17. A user may create a substream by applying a
filter to the documents in the main stream, for example “all
emails I’ve sent to Schwartz.” See id., col. 4, lines 50-51.
Substreams are “dynamic” and “persistent” in that they wiil, at
the user’s request, collect applicable information as it is
added to the main stream, and substreams will continue to exist
“until destroyed by the user.” See id., col. 5, lines 1-13. Each
substream document is in the main stream, and the same document
can exist in multiple substreams. Id., col. 5, lines 14-19.

Both the '538 and '439 patents incorporate by reference the
patent application that issued as the ’227 patent. '538 patent,
col. 1, lines 14-16; '439 patent, col. i, lines i5-1?. The
‘specifications of the ’538 patent and the ’439 patent are
“nearly identical.” Compl., ECE No. 1 {I 9.

Each of the claims asserted by Mirror Worlds contains a
“main stream” or “main collection” limitation and a “substream”

or “subcollection” limitation. Mirror Worlds Techs., 800 F.

 

App’x at 903.3 “The parties agree that the ‘main stream’ has two

properties: first, it includes every data unit received or

 

3 The ‘439 patent uses the term “main collection” instead of the term “main
stream.” E.g., °439 patent, claim 1. The parties dispute whether these terms
are synonymous. The term “main collection” does not appear an the ’227 patent
or the '538 patent.

 
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generated by the ‘computer system’; second, it is a time-ordered
sequence of data units.” Id.

Mirror Worids contends that three Facebook systems infringe
the asserted claims: “News Feed,” “Timeline,” and “Activity
Log.” “News Feed provides a scrolling display (or ‘feed’) that
provides stories that might be of interest to a viewing user,
for example, if friends of the user posted comments or photos,
uploaded videos, or performed other actions.” ECF No. 241, at
13. Timeline “allows a user to share information such as text,
images, photos, videos, and other types of data, with other
users on Facebook.” Tang Decl., ECF No. 250-17 7 4. “‘Activity
Log’ is similar to Timeline in that it can provide a list of
actions that occurred on Facebook that pertain to a particular
user.” Id. i 6.

Mirror Worlds contends that the following Facebook
components satisfy the main stream/main collection and computer
_system limitations: in News Feed, Mirror Worlds alleges that the
Multifeed System (the backend infrastructure for News Feed)
meets the computer system limitation, and that the Multifeed
Leaves (a storage system for keeping track of recent user
actions) meets the main stream/main collection limitation. In
both Timeline and Activity Log, Mirror Worlds alleges that the
Timeline backend system meets the computer system limitation,

and that the TimelineDB (Timeline database) meets the main

 

 

 
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stream/main collection limitation. See Mirror Worids Techs., 800

 

EF. App’x at 905-06; ECF No. 288, at 4; Mirror Worlds’ Response
to Facebook’s Statement of Material Facts (“Mirror Worlds’
RISMF”}, ECF No. 288-1, at 12-13.

Mirror Worlds asserts claims 13, 14, and 17 of the ’227
patent. These claims recite:

13. A method which organizes each data unit received
by or generated by a computer system, comprising the
steps of:

generating a main stream of data units and at least
one substream, the main stream for receiving each data
unit received by or generated by the computer system,
and each substream for containing data units only from
the main stream;

receiving data units from other computer systems;
generating data units in the computer system;
selecting a timestamp to identify each data unit;

associating each data unit with at least one
chronological indicator having the respective
timestamp;

including each data unit according to the timestamp in
the respective chronological indicator in at least the
main stream; and

maintaining at least the main stream and the
substreams as persistent streams.

14. The method of claim 13, wherein each timestamp is
selected from the group consisting of: past, present,
and future times.

17. The method of claim 13, wherein each data unit
includes textual data, video data, audio data and/or
multimedia data,

 
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patent, col. 16.

Mirror Worlds asserts claim 1 cf the ’538 patent and claim
the ’439 patent. Claim 1 of the '538 patent recites:

i. A method of operating a computer system comprising:

providing the computer system with documents from
diverse applications in respective formats unique to
the respective applications;

causing the computer system to automatically, without
user interaction and without requiring a user to
designate directory structures or other pre-imposed
document categorizations structures, store the
provided documents as a time-ordered main stream of
documents associated with respective automatically
generated time indicators;

said time-ordered main stream being unbounded to
thereby accommodate documents associated with time
indicators related to past, present and future times;

said Lime-ordered main stream requiring no fixed
beginning or end and being maintained and being
selectively retrievable and searchable by the computer
system;

said computer system maintaining the main stream live
and responsive to subsequent events by automatically
incorporating therein new documents as provided to the
computer system while maintaining the thus expanded
main stream time-ordered; - :

providing selected search criteria;

causing said computer system to search said time-
ordered main stream according to said search criteria
and use search results to create a time-ordered
substream of documents from the main time-ordered
stream;

further causing said computer system to maintain said
substream live and responsive to subsequent events by
automatically incorporating therein new document
provided to the computer system that meet the search

 
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eriteria while maintaining the thus expanded substream
time-ordered;

displaying at least selected portion of the live main
stream or substream on computer display means as a
display reflecting the time-ordered nature thereof;

automatically showing on the display means a display
of a glance view of a displayed document in response
to touching with a cursor a screen area associated
with the document;

said glance view being an abbreviated version of the
document and indicative of content thereof; and

said showing of the glance view occurring essentially
instantaneously in response to said touching with the
cursor of the screen area associated with the
decument.

Claim 1 of the ‘439 patent recites:
1. A method of operating a computer system comprising:

providing the computer system with documents in
respective formats according to respective different
applications through which the provided documents are
generated or modified, which formats differ from one
of the document to another for at least some of said
provided documents, said provided documents being
delivered to the computer system or generated by the
computer system;

computer system in computer storage;

said computer system being configured to automatically
generate and store in computer storage respective
representations related to the documents provided
thereto, thereby forming a main collection of document
representations;

said computer automatically generating and storing
said main collection of document representations
without requiring a user to designate a directory
structure, a physical location for storage of document
representations or corresponding documents, or another

 
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pre-imposed document categorization structure for each
of said document representations or documents;

said automatically generated and stored document
representations being in a consistent format despite
differences in format from one to another of the
decuments corresponding thereto;

said automatically generated and stored
representations of said documents including respective
automatically generated time indicators associated
with the documents corresponding to said
representations;

said automatically generated and stored
representations of said documents further including
respective automatically generated information
relating the document representation to the respective
decuments provided to and stored in said computer
system;

said automatically generated and stored main
collection of document representations being unbounded
in time and size and being configured to include
documents associated with time indicators related to
future times as well as to past and present times;

said automatically generated and stored main
collection of document representations requiring no
fixed beginning or end and being non-transitory and
selectively searchable by the computer system;

providing selected search criteria;

causing said computer system to perform a first search
of at least said main collection of document
representations according to selected first search
criteria, to provide first search results, and to
utilize said first search results to generate a first
sub-collection of decument representations related to
a respective sub-collection of the documents provided
to the computer system;

selectively causing the computer system to display on
a computer screen graphical depictions of only a first
portion of said first subcollection of document
representations generated by utilizing said first

 
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search results, said first portion corresponding to
only a portion of the documents provided to and stored
in the computer system;

said first portion of said first document sub-
collection of document representations corresponding
to a muiti-document portion of the documents provided
to and stored in said computer system;

said computer system being configured to maintain at
least one of said the main collection cf document
representations and said first sub-collection of
document automatically responsive to events subsequent
to the providing of said first search results such
that additional document representations corresponding
to additional documents provided to the computer
system subsequent to an initial display of said first
portion of the first sub-collection of document
representations and meeting said selected search
criteria are automatically included in a subsequent
display of graphical depictions of one or more
portions of said first sub-collection of document
representations;

said additional document representations also
including automatically generated respective time
indicators associated with the documents subsequently
provided to the computer system;

automatically showing on the computer screen a display
of a glance view of a displayed document depiction
while continuing to show on the screen plural
displayed graphical depictions of respective plural
document representations; ,

said glance view being an abbreviated version of the
document corresponding to the graphical depiction and
being indicative of content thereof; and

said showing of the glance view occurring in response
to a user designating a displayed document
representation by interacting with a screen area
currently associated with the graphicai depiction,
without requiring the user to click on the designated
screen area in order to enable such showing of the
glance view.

 
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In addition to the main stream/main collection limitation,
the asserted claims of the ‘538 and ’439 patents require the
display of a “glance view,” or a preview, of a document that the
user interacts with. ’538 patent, col. 16, lines 55-60; ’439
patent, col. 17, lines 34-41.

I.

Facebook previously moved for summary judgment on the issue
of non-infringement before discovery was completed, and the
Court granted that motion in a Memorandum Opinion and Order
dated August 11, 2018. 320 F. Supp. 3d 538 (S.D.N.¥. 2018). The
Court conciuded that the Multifeed Leaves and the TimelineDB
(the accused main streams) could net be main streams because the
record established that the accused computer systems receive
data from TAO (a storage system which stands for “The
Associations and Objects”) that does not enter the Multifeed
Leaves or the TimelineDB. See id. at 547-49. The Federal Circuit
Court of Appeals held that conclusion was erroneous and declined
to affirm the grant of summary judgment on alternative grounds
urged by Facebook. See 800 F. App’x at 909-11. Accordingly, the
court of appeals reversed and remanded, noting that its ruling
was “without prejudice to otherwise-appropriate consideration of
non-infringement contentions on remand, especially once the
record is fully developed.” Id. at 910. Discovery in this case

has now closed, and Facebook has filed a new motion for summary

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judgment relying, in part, on additional grounds of non-
infringement.

There are several motions before the Court. Facebook has
brought another motion for summary judgment, making three
arguments in particular: (1) the asserted claims are ineligible
for patent protection under 35 U.S.C. § 101; (2) Facebook does
not infringe any of the asserted claims; and (3) there was no
wiliful infringement in this case. See ECF No. 241. Mirror
Worlds has brought a motion for partial summary judgment of no
invalidity based on Facebook's prior art defenses. See ECF No.
233. Both parties have brought motions to exclude certain
opinions of the opposing party’s experts. See ECF Nos. 223, 228,
236, 246. Finally, there are fully-briefed claim construction
disputes before the Court, which the court of appeals clarified
are open on remand. See 800 F. App’x at 911; ECF Nos. 103-1,
108, i190.

For the reasons explained below, Facebook’ s motion for
summary Judgment is granted in part and denied in part. The
Court will focus primarily on Facebook’s motion for summary
judgment, and will discuss the other outstanding motions to the
extent they are relevant in resolving Facebook's motion for

summary Judgment.

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If.

“The court shall grant summary judgment if the movant shows
that there is no genuine dispute as to any material fact and the
movant is entitled to judgment as a matter of law.” Fed. R. Civ.
P. 56({a); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322-
23 (1986). “[T]he trial court’s task at the summary judgment
motion stage of the litigation is carefully limited to
discerning whether there are any genuine issues of material fact
to be tried, not to deciding them. Its duty, in short, is
confined at this point to issue-finding; it does not extend to

issue-resolution.” Gallo v. Prudential Residential Servs., Ltd.

 

Piship, 22 F.3d 1219, 1224 (2d Cir. 1994). The moving party
bears the initial burden of “informing the district court of the
basis for its motion” and identifying the matter that “it
believes demonstrate[s] the absence of a genuine issue of
material fact.” Celotex, 477 U.S. at 323. The substantive law
governing the case will identify which facts are material, and
“fo]lniy disputes over facts that might affect the outcome of the
suit under the governing law will properly preclude the entry of

summary judgment.” Anderson v. Liberzy Lobby, Inc., 477 U.S.

 

242, 248 (1986),
In determining whether summary judgment is appropriate, the
court must resolve all ambiguities and draw all reasonable

inferences against the moving party. See Matsushita Elec. Indus.

 

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Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 {1986). With

 

respect to the issues on which summary judgment is sought, if
there is any evidence in the record from any source from which a
“reasonable inference” could be drawn “in favor of the non-

movant,” summary judgment is improper. Roche Palo Alto LLC v.

 

Apotex, Inc., 531 F.3d 1372, 1377 {Fed. Cir. 2008). The
nonmoving party must “point to an evidentiary conflict created
on the record,” and may not rely only on “mere denials or

conclusory statements.” Armco, Inc. v. Cyclops Corp., 791 F.2d

 

147, 149 (Fed. Cir. 1986); see also Fed. R. Civ. BP. 56(c}.
Tit.

Facebook argues that all the asserted claims claim
ineligible subject matter under 35 U.S.c. § 101.

Section 101 of the Patent Act, which defines the subject
matter eligible for patent protection, provides: “Whoever
invents or discovers any new and useful process, machine,
manufacture, or composition of matter, or any new and useful
improvement thereof, may obtain a patent therefor, subject to
the conditions and requirements of this title.” 35 U.S.C. § 101.
The Supreme Court has held that “this provision contains an
important implicit exception: Laws of nature, natural phenomena,

and abstract ideas are not patentable.” Alice Corp. Pty. Ltd. v.

 

CLS Bank Int’l, 573 U.S. 208, 216 (2014) (quoting Ass’n for

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Molecular Pathology v. Myriad Genetics, Inc., 569 U.S. 576, 589
(2013)).

The “concern that drives this exclusionary principle [is]
one of pre-emption.” Id, “Laws of nature, natural phenomena, and
abstract ideas are ‘the basic tocls of scientific and
technological work.’ ‘Monopolization of those tools through the
grant of a patent might tend to impede innovation more than it
would tend to promote it,’ thereby thwarting the primary object
of the patent laws.” Id. (quoting Myriad, 569 U.S. at 589, and
Mayo Collaborative Servs. v. Prometheus Lab’ys, Inc., 566 U.S.
66, Fi (2012)). However, courts must “tread carefully in
construing this exclusionary principle” because, “[a]t some
level, ‘all inventions embody, use, reflect, rest upon, or apply
laws of nature, natural phenomena, or abstract ideas.’” Id. at
217 (quoting Mayo, 566 U.S. at 71).

In Alice, the Supreme Court reaffirmed the two-step
framework set out in Mayo for analyzing patent eligibility under
§ 101. At the first step, the court asks whether the claims at
issue are directed to 4 patent-ineligible concept. If so, the
court proceeds to step two and asks whether the claims provide
an “inventive concept”-that is, “an element or combination of
elements that is ‘sufficient to ensure that the patent in

practice amounts to significantly more than a patent upon the

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ineligible concept itseif.’” Id. at 217-18 (quoting Mayo, 566
U.S. at 73).
A.

Facebook argues that the asserted claims “are directed to
the abstract idea of organizing information in a time-ordered
Manner.” ECF No. 241, at 8. Facebook cites the specification of
the '227 patent, which states that the claimed invention is “a
new model and system for managing personal electronic

information which uses a time-ordered stream as a storage model

 

and stream filters to organize, locate, summarize and monitor
incoming information.” '’227 patent, col. 3, lines 62-65.
Facebook also cites a line of Federal Circuit cases holding that
collecting, analyzing, and displaying information is an abstract

idea. See, e.g., Elec. Commc’n Techs., LLC v.

 

ShoppersChoice.com, LLC, 958 F.3d 1178, 1182 (Fed. Cir. 2020)

 

(abstract idea of “gathering, storing, and transmitting

 

information”); Intellectual Ventures I LLC v. Cap. One Fin.

 

Corp., 850 F.3d 1332, 1340 (Fed. Cir. 2017) (abstract idea of
“collecting, displaying, and manipulating data”); Content
Extraction and Transmission LLC v. Wells Fargo Bank, Nat’i
Ass'n, 77/76 F.3d 1343, 1347 (Fed. Cir. 2014) (“The concept of
data collection, recognition, and storage is undisputedly well-

known. Indeed, humans have always performed these functions.”).

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Mirror Worlds argues that the asserted claims are “directed
to the way in which computers name, organize, and retrieve
electronic documents and distinguish the way in which
conventional computers had done so.” ECF No. 288, at 6 (quoting

Apple, Inc. v. Mirror World Techs., LLC, No. CBM2016-00019

 

{(P.T.A.B. May 26, 2016) (“PTAB Decision”), ECF No. 289-4, at
15). Mirror Worlds argues that the asserted claims are patent-
eligible and not directed to an abstract idea because they are
directed to improving computer functionality. See Alice, 573

U.S. at 225; Enfish, LLC v. Microsoft Corp., 822 F.3d 1327,

 

1335-36 (Fed. Cir. 2016). Mirror Worlds also notes that a
federal district court and the Patent Trial and Appeal Board
(“PTAB”) previously concluded that the claims of the '227 patent
are patent-eligible under § 101. See Mirror Worlds Techs., LLC
v. Apple Inc., No. 6:13-cv-419, 2015 WL 6750306, at *10 (E.D.
Tex. July 7, 2015); PTAB Decision, at 17-18.

“The Supreme Court has suggested that claims purporting to
improve the functioning of the computer itself, or improving an
existing technological process might not succumb to the abstract
idea exception.” Enfish, 822 F.3d at 1335. The cases construing
the “abstract idea” exception in the computer context therefore
draw a distinction between (1) claims that are directed to

improving computer functionality, and (2) claims that are

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directed to “a process that qualifies as an ‘abstract idea’ for
which computers are invoked merely as a tool.” Id, at 1335-36.
Enfish made clear that the court may ask whether the
asserted claims are directed to improving computer functionality
at Alice step one. See id. Enfish also made ciear that, while
improvements to computer-related technology “such as a chip
architecture, an LED display, and the like” are “undoubtedly not
abstract,” “[s]oftware can make non-abstract improvements to
computer technology just as hardware improvements can.” Id. at
1335. The court in Enfish also stated that, because there is no
“definitive rule to determine what constitutes an ‘abstract
idea’ sufficient to satisfy” Alice step one, “both [the Federal
Circuit] and the Supreme Court have found it sufficient to
compare claims at issue to those claims already found to be
directed to an abstract idea in previous cases.” Id. at 1334.
In Enfish, the asserted claims related to a self-
referential computer database structure. The self-referential
database improved upon the prior art “relational” model by (1)
including all data entities in a single table rather than
providing each type of data in a separate table, and (2)
defining a table’s columns by rows in that same table. See id.
at 1330-32. The patents in Enfish taught that these design
improvements allowed for faster searching of data, more

effective storage of certain types of data, and more flexibility

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in configuring a database. See id. at 1333. The court concluded
that the asserted patents were not directed to an abstract idea
at Alice step one; rather, they were “directed to a specific
improvement to the way computers operate, embodied in the self-
referential table.” Id. at 1336. The court emphasized the
patents’ disparagement of the prior art relational model. See
id, at 1337. The court also found that the invention’s “ability
to run on a generai-purpose computer” did not “doom[] the
claims” because the claims were directed to improving computer
functionality, unlike the claims in cases such as Alice that
“can readily be understood as simply adding conventicnal
computer components to well-known business practices.” Id. at
1338.

The claims asserted in this case are similar, even though
their focus is broader than the claims at issue in Enfish. The
claims asserted here are also aimed at improving the storage and
retrieval of data on a computer, The patents teach that
conventional operating systems were cumbersome, difficult to
navigate, and carried several disadvantages: users had to store
new information in fixed categories, archiving was not
automatic, and “the historical context of a document [was] Lost
because no tracking of where, why and how a document evolves
[was] performed,” '227 patent, col. 1, lines 42-52. The claimed

invention attempts to solve these problems by storing documents

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in a computer system in time-ordered streams. See id., col. 2,
lines 13-16. Because the claimed invention stores ali data units
in a time-ordered main stream, the user is not required to store
documents in a pre-imposed directory structure, documents are
automatically archived, and the user can see how a document has
evolved over time. The claimed operating system also allows the
user to avoid the “unneeded overhead” of naming a file and
choosing a storage location whenever a file is created. See id.,
col. 1, lines 42-44; id., col. 2, lines 20-24 (under the claimed
operating system, “the storage of the files is handied
automatically and file names are only used if a user chooses to
invent such names”). This is similar to the way in which the
patents in Enfish improved upon the functionality of prior art
computer systems. See 822 F.3d at 1333 (“[Wjhereas deployment of
a relational database cften involves extensive modeling and
configuration of the various tables and relationships in advance
of jaunching the database, Enfish argues that the self-
referential database can be launched without such tasks and
instead configured on-the-fly.”). The asserted claims seek to
improve upon traditional computer operating systems by storing
and retrieving data in a more efficient way. Accordingly, the

claims are directed to improving computer functionality.*

 

4 The two prior decisions that considered the patent eligibility of the '227
patent reached the same conclusion. The PTAB Decision, relying on Enfish and
DDR Holdings, LLC v. Hotels.com, L.P., 773 F.3d 1245 (Fed. Cir. 2014),

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Facebook argues that “[t]he asserted claims fall squarely
within the oft-cited line of Federal Circuit cases repeatedly
invalidating claims directed to collecting, analyzing, and
displaying information.” ECF No. 241, at 9. This is not so. The
claims in the cases cited by Facebook used the computer as a
tool to collect and analyze data for some purpose other than

improving computer functionality. See, ¢.g., ShoppersChoice.com,

 

958 F.3d at 1181 (“providing advance notification of the pickup

or delivery of a mobile thing”); SAP Am., Inc. Vv. InvestPic,

 

LLC, 898 F.3d 1161, 1164-67 (Fed. Cir. 2018) (statistical method

for analyzing financial data); Intellectual Ventures [, 850 F.3d

 

at 1339-40 {method for editing specific type of computer
documents); Electric Power Grp., LLC v. Alstom 5.A., 839 F.3d
1350, 1351-53 (fed. Cir. 2016) (“systems and methods for
performing real-time performance monitoring of an electric power
grid”). Those claims, like the claims in Alice, used computers

to perform a process or task that itself qualified as an

 

emphasized that the ‘227 patent sought to soive problems “that arose
specifically in the realm of computer operating systems” and “that did not
exist in the pre-computer world.” PTAB Decision, at 15-17. The district court
in Mirror Worlds Techs. v, Apple, 2015 WL 6750306, concluded that the '’227
patent was directed to an abstract idea but that the asserted claims
contained a sufficient “inventive concept” at Alice step two. See id. at *8-
10. However, the district court also concluded that the ‘227 patent was
“directed to improving computer technology,” id. at *8, and the district
court’s decision came before the Federal Circuit Court of Appeals clarified
in Enfish that claims may be deemed patent~-eligible at step one because they
are directed tc improving computer functionality. Accordingly, both decisions
that have considered the patentability of the '227 patent under $ 101 support
the conclusion that the asserted claims are patent-eligible because they are
directed to improving computer functionality.

 

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abstract idea. The asserted claims in this case, by contrast,
are directed to improving how computers “carry out one of their
basic functions of storage and retrieval of data.” Id. at 1354.

Facebook also argues that the claims are “directed at using
computers to solve a human problem of storing and organizing
information.” ECF No. 241, at 10. But “describing the claims at
such a high level of abstraction and untethered from the
language of the claims all but ensures that the exceptions to §
101 swallow the rule.” Enfish, 822 F.3d at 1337; see also Alice,
573 U.S. at 217 (“[Wle tread carefully in construing this
exclusionary principle [of laws of nature, natural phenomena,
and abstract ideas] lest it swallow ail of patent law.”). It is
true that storing and organizing information is a human problem
that exists independent of computers. But the asserted claims
are directed to a specific improvement in the way that computers
store and retrieve data; the patents articulate, and attempt to
overcome, challenges created by traditional prior art operating
systems that are specific to the computer context. see DDR
Holdings, LLC v. Hotels.com, L.P., 773 F.3d 1245, 1257-59 (Fed.
Cir. 2014) (concluding that the claims at issue were patent~
eligible under § 101 because “the claimed solution is
necessarily rooted in computer technology in order to overcome a
problem specifically arising in the realm of computer

networks”).

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Accordingly, the asserted claims are directed to improving
computer functionality. Facebook fails to distinguish Enfish in
a meaningful way or to explain why the prior decisions holding
the ‘227 patent patent-eligible under § 101 are mistaken. And
while Facebook emphasizes the breadth of the claim language and
its lack of technological details, this is due-at least in part—
to the breadth of the problem that the claims aim to solve and
the fact that data storage and retrieval are fundamental aspects
of computer functionality. Moreover, Facebook points to no cases
where claims directed to improving computer functionality were
found ineligible under § 101 due to a lack of implementation
details or for any other reason.?®

Recause the claims are directed to improving computer
functionality, the claims are not directed to an abstract idea
at Alice step one and the Court need not reach step two. See

Enfish, 822 F.3d at 1339.°

 

5 At argument, Facebook relied on Berkheimer v. KP Inc., 681 F.3d 1360 (Fed.
Cir. 2018). In Berkheimer, the court of appeals explained that the use of a
“parser” to transform a data structure from source code to object code was an
abstract idea without evidence that this transformation improved computer
functionality in some way. See id. at 1367. The asserted claims in this case,
however, describe a stream-based operating system that is directed to
improving computer functionality.

® The Court concludes that all the asserted claims are directed to improving
the way in which computers store and retrieve data. Claims 14 and 17 of the
‘227 patent, which depend on independent claim 13, are substantially similar
to claim 13. Claim 14 simply clarifies that past, present, and future
timestamps can be selected, and ciaim 17 clarifies that all types of data may
be included in the time-ordered streams. See ‘227 patent, col. 16, lines 26-
28, 38-40. Claim 1 of the ‘538 patent and claim i of the ’439 patent are also
substantially similar to claim 13 of the ’227 patent. While these claims
recite an additional “glance view” limitation that provides an “abbreviated
version of the document corresponding to the graphical depiction and being

 

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Iv.

The Court turns next to the issue of infringement and the
parties’ related claim construction disputes.

Infringement analysis is a two-step process: “The first
step is determining the meaning and scope of the patent claims
asserted to be infringed. The second step is comparing the
properly construed claims to the device accused of infringing.”

Markman v. Westview Instruments, Inc., 52 F.3d 967, 976 (Fed.

 

Cir. 1995) (en banc), aff'd, 5i7 U.S. 370 (1996); see also N.
Am. Container, Inc. v. Plastipak Packaging, Inc., 415 F.3d 1335,
1344 (Fed. Cir. 2005).
A.
Claim construction, the first step in infringement
analysis, is a matter of law. See Markman, 52 F.3d at 979, “It
is a bedrock principle of patent law that the claims of a patent

define the invention to which the patentee is entitled the right

 

to exclude.” Phillips v. AWH Corp., 415 F.3d 1303, 1312 (Fed.
Cir. 2005) (en banc). “A court construing a patent claim seeks
to accord a claim the meaning it would have to a person of

ordinary skill in the art at the time of the invention.”

 

indicative of content thereof,” ’538 patent, col. 16, lines 55-60; '439
patent, col. 17, jines 34-41, both claims focus on the stream-based, time-
ordered storage and retrieval of data on a computer. “[Blecause all the
claims are substantially similar,” addressing each claim separately for the
purposes of § 101 is unnecessary. Content Extraction and Transmission LLC v.
Wells Farge Bank, Nat'l Ass'n, 776 F.3d 1343, 1348 (Fed. Cir. 2014).
Accordingly, claim 13 of the ‘227 patent is representative of all the
asserted claims for purposes of the § 101 analysis, and all the asserted
claims are directed to improving computer functionality.

 

 

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Innova/Pure Water, Inc. v. Safari Water Filtration Sys., Inc.,
381 F.3d 1111, 1116 (Fed. Cir. 2004) (collecting cases). “The
inguiry into how a person of ordinary skill in the art
understands a claim term provides an objective baseline from
which to begin claim interpretation.” Phillips, 415 F.3d at
1313. “[Tilhe words of a claim are generally given their ordinary
and customary meaning.” Id. at 1312.

“(T]he person of ordinary skill in the art is deemed to
read the claim term not only in the context of the particular
claim in which the disputed term appears, but in the context of
the entire patent, including the specification.” Id. at 1313. In
deciding issues of claim construction, “the court looks to those
sources available to the public that show what a person of skill
in the art would have understood disputed claim language to
mean. Those sources include the words of the claims themseives,
the remainder of the specification, the prosecution history, and
extrinsic evidence concerning relevant scientific principles,
the meaning of technical terms, and the state of the art.” Id.
at 1314. “[T]he context of the surrounding words of the claim
also must be considered in determining the ordinary and
customary meaning of those terms.” Id. “{Wlhile extrinsic
evidence can shed useful light on the relevant art, .. . itis
less significant than the intrinsic record in determining the

legally operative meaning of claim language.” Id. at 1317.

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“Only those terms need be construed that are in
controversy, and only to the extent necessary to resolve the
controversy.” Eon Corp. IP Holdings v. Silver Spring Networks,
815 F.3d 1314, 1318-19 (Fed. Cir. 2016). The parties agree that
all the asserted claims recite a main stream or main collection
limitation, which requires Mirror Worlds to identify a stream
that is inclusive of every data unit received or generated by
the alleged computer system. There are two disputed terms,
however, that must be decided in order to resolve Facebook's
motion for summary judgment on non-infringement: “data unit” and
“main collection.”

“Data unit” is in issue because the parties’ infringement
dispute hinges on whether the Multifeed Leaves and the
TimelineDB, the alleged main streams/main coilections, include
every data unit received or generated by the alleged comouter
systems (the Multifeed System and the Timeline backend system,
respectively). To determine whether the alleged main
streams/main collections include every data unit received or
generated by the alleged computer systems, the Court must first
clarify what is and what is not a “data unit.”

Facebook contends that “data unit” means “document.” First,
Facebook points to the prosecution history of the '227 patent,
which is “designated as part of the ‘intrinsic evidence,’”

Phillips, 415 F.3d at 1317. Facebook cites a 1999 amendment

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submitted by the patentees in which the patentees sought to
“clarify key terms” with express definitions. See ECF No. 109-1,
at FBMW_00097563.7 In this amendment, the patentees state: “A
‘data unit’ is a ‘document’ because a ‘document can

contain any type of data.’” Id.® The amendment went on to use the
terms “documents” and “data units” interchangeably. See, @.g.,
id, (“a time-ordered sequence of documents (data units}”).
Facebook notes that “The patentee is held to what he declares

during the prosecution of his patent.” Gillespie v. Dywidag Sys.

 

Int'l, USA, 501 F.3d 1285, 1291 (Fed. Cir. 2007). Facebook also
notes that, in connection with a covered business method (“CBM”)
review of the ’227 patent, Mirror Worids stated that “The

broadest reasonable construction of ‘data unit’ is ‘document.’”

ECF No. 103-3, at 61; see also Aylus Networks, Inc. v. Apple,

 

Inc., 856 F.3d 1353, 1359-60 (Fed. Cir. 2017) (doctrine of
prosecution disclaimer applies to statements made in post-
issuance proceedings}.

Mirror Worlds contends that “data unit” means “an item of

information that is of direct user interest.” Mirror Worlds

 

7 By its text, the 1999 amendment sought to clarify “key terms in the amended
claims.” ECF No. 109-3, at FBMW 00097563 (emphasis added). The asserted
independent claim 13 is one of the claims that was amended, see id. at

FBMW 00097555, and, in any event, the ‘227 patent provides nce basis for
defining “data unit” differently across different claims. See Phillips, 415
F.3d at 1314 (*[C]iaim terms are normaliy used consistently throughout the
patent[.]”).

§ Phe patentees were quoting the then-current version of the specification.
This language appears in the final specification. ‘227 patent, col. 4, lines
16-18 (“A document can contain any type of data including but not limited to
pictures, correspondence, bills, movies, voice mail and software programs.”}.

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argues that “document,” Facebook’s proposed construction, has
two deficiencies: (1) it fails te account for the fact that data
unit only encompasses information that is of direct user
interest; and (2) it fails toe clarify that a data unit can
include video, audio, and multimedia data as opposed to only
textual data.

Mirror Worlds’ first contention is without merit. First, it
finds no support in the claim language or the specification.
While the specification does make clear that the invention seeks
to provide a system for organizing and managing “personal
electronic information,” '227 patent, col. 3, lines 62-63, the
patent’s overarching aim of displaying information that is
interesting to the user cannot be crammed into the term “data
unit.” Displaying information that is of interest to the user is
a goal of the invention writ large; it is not captured in these
two words. A person of ordinary skill in the art would not
understand “data unit” to refer only to those units of Gata that
happen to interest a particular user at a particular time .?

Second, the doctrine of prosecution disclaimer preciudes
Mirror Worlds’ construction. In their preliminary response filed
in connection with a CBM review, the patentees disputed the

petitioner’s indefiniteness challenge by disclaiming the very

 

® Nor would a person of ordinary skill in the art interpret “data unit” to
refer only to data that is of direct interest to a “user” in the generic
sense, as the patentees once argued. See ECF No, 103-3, at 72.

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construction that they urge this Court to adopt. See ECF No.
103-3, at 65-66 (“The definitions of ‘data unit’ in both the
specification and prosecution history do not include the
narrowing limitation that forms the basis of Petitioner’s
indefiniteness challenge-i.e., ‘an item of information that is
of direct user interest in the user’s timeline.’”%}). This is a
“clear and unmistakable” disavowal of the “direct user interest”
limitation, and Aylus makes clear that the patentees cannot
argue claims “one way in order to maintain their patentability
and in a different way against accused infringers.” 856 F.3d at
1360.1° Even apart from the doctrine of disclaimer, the patentees

persuasively argued in their preliminary response that the '227

 

10 While Aylus specifically held that the dectrine af prosecution disclaimer
applies to statements made in inter partes review (“IPR”) proceedings, the
logic of Aylus and the policy behind prosecution disclaimer apply equally to
CBM proceedings. Applying prosecution disclaimer in this case will “promote
the public notice function of the intrinsic evidence and protect the public’s
reliance on definitive statements made during” CBM proceedings. Aylus, 856
F.3d at 1360. Further in support of applying the doctrine in this case is the
fact that the patentees argued to the PTAB that “document” is the best
interpretation of “data unit,” not merely the broadest reasonable
interpretation (“BRI”). See, e.g., ECF No. 103-3, at 64 (“Consistent with the
implicit definition of ‘data unit’ in the '227 specification, the patent
applicant explicitly defined ‘data unit’ as a ‘document’ during
prosecution.”). Mirror Worlds appears to argue that the Court shouid not
consider Mirror Worlds’ statement in its CBM preliminary response because the
BRI standard governed claim construction in the CBM review. This argument is
unpersuasive because the BRI standard governed claim construction in IPR
proceedings when Aylus wags decided in 2017. See Celgene Corp. v. Peter, 931
F.3d 1342, 1349 n.8 (Fed. Cir, 2019} (noting that the revised claim
construction standard for IPR proceedings applies only to petitions filed on
or after November 13, 2018). Mirror Worlds points to no cases undermining the
holding of Aylus. And while counsel for Mirror Worlds states that “the patent
owner’s statements were always expressly made under the BRI standard, and
were expressly distinguished from the Phillips standard,” ECF No, 310, at 2;
that is simply not true. As the quoted text from the preliminary response
demonstrates, Mirror Worids repeatediy argued in the preliminary response
that the patentees-explicitly during prosecution and implicitly in the
lanquage of the ‘227 patent—defined “data unit” as “document” without any
narrowing limitation.

 

 

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patent defines the term “data unit” as “document” by implication
because “the patentee uses ‘data unit’ throughout the entire

specification in a manner consistent with, and as a synonym for,

 

‘document.’ ECF No. 103-3, at 63 (citing Irdeto Access, Inc. Vv.

Echostar Satellite Corp., 383 F.3d 1295, 1301 (Fed. Cir. 2004)).

 

Accordingly, the doctrine of prosecution disclaimer applies and,
furthermore, the intrinsic evidence does not support Mirror

Worlds’ “of direct user interest” limitation.?!

 

11 The Court also agrees with Facebook that Mirror Worlds’ proposed
construction is “confusing,” “subjective,” and would render the term “data
unit” indefinite because different users have different opinions about what
information is of direct interest, and even the same user may be interested
in different information at different times. See ECF No. 108, at 3. While the
court in Mirror Worlds Techs., LLC v. Apple Inc., No. 6:13-cv-419, 2015 WL
179072, at *3 (E.D. Tex. dan. 14, 2015) accepted the “of direct user
interest” limitation, this Court disagrees with that construction. The Court
does not find a basis for this limitation in the language of the patent. The
district court in Texas concluded that the “of direct user interest”
limitation “arose during prosecution in an examiner interview and is thus
expressly supported.” Id. (citing a January 19, 1399 interview summary by the
patent examiner). But the 1393 amendment, which was made in direct response
to the January 19, 1999 interview, is more important to the construction of
the claim term than the interview summary prepared by the examiner. In the
amendment, the patentees stated that the “primer[y]” amendment in light of
the January 19, 1999 interview was to clarify that “"‘each data unit received
by or generated by the computer system’ is received by the ‘main stream’. In
other words, all the data units, without regard tc whether a data unit was
generated internally or externally, are of significance to the user.” ECF No.
109-1, at FBMW 00097562-63. This language appears to emphasize that all the
information contained in the computer system is included in the main stream,
regardiess of its source. This language does not appear to add a new “of
direct user interest” limitation to the term “data unit.” The amendment goes
on: “[Slubstreams allow a user to determine the events of direct user
interest from the stream of data units of significance to the user (main
stream) .” Id, at FBMW_00097563 (emphasis added). This contrast between
substreams and the main stream makes clear that the substream is the layer in
which the user has the opportunity to filter information that is of direct
interest. The main stream, on the other hand, contains all information that
is received or generated by the computer system, without any selection
criteria from the user. The language of the patent provides no basis for
coneluding that only data “of direct user interest” is included in the
computer system, and a person of ordinary skill in the art would not
understand “data unit” to be so limited. And, given the opportunity te amend

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Mirror Worlds’ other contention-that “document” fails to
clarify that a data unit can include video, audio, and
multimedia data-has more force. The specification makes clear
that “A document can contain any type of data including but not
limited to pictures, correspondence, bills, movies, voice mail
and software programs.” '227 patent, col. 4, lines 16-18.
Indeed, Facebook does not dispute that “data unit” encompasses
any type of data, not merely textual data. The Court agrees with
Mirror Worlds that “an item of information” is clearer in this
respect than “document.” Accordingly, the Court construes “data
unit” as “an item of information.”

The second disputed term is “main collection.” The term
“main collection” appears only in the ’439 patent. Facebook
argues that “main collection” means “main stream.” Mirror Worlds
argues that, in claim 1 of the ‘439 patent, “main coilection”
means “main coilection of document representations.”

The Court agrees with Facebook. “Main collection” is a

coined term with no established meaning in the field. See Gray

Decl., ECF No. 108-1 § 133. The specification of the *439 patent

 

the claim Language in light of the January 19, 1999 interview, the patenteas
expressly defined “data unit” as “document,” without any limiting language.
22 The Court “need not accept the constructions propesed by either party.”
Bancorp Servs., L.L.C, v. Sun Life Assurance Co. of Canada (U.S.), 687 F.3d
1266, 1274 (Fed. Cir. 2012).

13 In its claim construction brief, Mirror Worids urges a different
construction of “main collection” for claims 9, 19, and 20 of the *439
patent. However, only claim 1 of the '439 patent is at issue. Facebook's
Statement cf Material Facts, ECF Ne. 241-1 9 2; Mirror Worlds’ RTSMF {f 2.
Accordingly, the Court will only consider Mirror Worlds’ proposed
construction for claim 1.

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does not use the term “main collection.” But, like the ‘227
patent, the ‘439 specification discusses “time-ordered streams”
and a “stream-based” operating system. See ‘439 patent, title;
id., col. 1, line 67-col. 2, line 1.74 The ‘439 patent also
explicitly incorporates the ‘227 patent application in its
entirety, which discusses main streams at length. See id., col.
1, lines 15-17. And as Facebook notes, “claim drafters can []
use different terms to define the exact same subject matter.”
Curtiss-Wright Flow Control Corp. v. Velan, Inc., 438 F.3d 1374,
1380 (Fed. Cir. 2006). The '439 patent uses the terms “stream”
and “collection” interchangeably. See ‘439 patent, col. 12,

lines 39-42 (emphasis added) (“Top-Down streams are more

permanent, generally more administrative streams or collections

 

of information ... .%)}. The '227 patent also uses these terms
interchangeably. See ‘227 patent, col. 5, lines 16-17 (*A
substream, in other words, is a ‘subset’ of the main stream
document coilection.”); id., col. 6, lines 11-13 (“Each view of
a stream is implemented as a client of the server and provides
the user with a ‘viewpoint’ interface to document collections,
that is, streams.”). Because the patents use the terms “stream”

and “collection” interchangeably, “main stream” and “main

 

144 See also '439 patent, abstract (emphasis added) (“A st[r]eam-based decument
storage and retrieval system accepts documents that are in diverse formats
and come from diverse application, automatically creates decument modei
ebjects describing these documents in a consistent format and associating
time stamps with the documents to automatically create a main stream in
chronological order.”).

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collection” are synonymous. Neither the specification of the
’439 patent (which does not use the term “main collection” at
all) nor the claim language provides a basis for concluding
otherwise.

Mirror Worlds argues that “The patentees expressly used
‘main collection’ when referring to documents or document
representations, and a ‘main stream’ when referring to data
units.” ECF No. 103-1, at li. But this is plainly untrue. See,
e.g., '227 patent, col. 5, lines 14-19 {emphasis added)
(“Although a document may belong to any number of substreams,
the document alse enters and remains on the main stream. A
substream, in other words, is a ‘subset’ of the main stream
document collection. In other words, a way of looking at the
main stream so as to exclude certain documents temporarily.”).
The '439 patent’s use of the word “document” instead of “data
unit” is of no moment because the patentees, in the prosecution
history of the '227 patent, expressly stated that these terms
are synonymous, ECF No. 109-1, at FBMW 00097563.

Mirror Worlds also argues that “main collection” cannot
mean “main stream” because claim 1 of the '439 patent does not
require characteristics that the parties agree describe a

Ww

stream, namely: (1) being time-ordered; (2) functioning “as a
diary of a person or entity’s electronic life” that has “three

main portions: past, present, and future,” and (3) including

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“every data unit received by or generated by the computer
system.” ECF No. 103-1, at 11. But any construction of “main
collection” that lacked these characteristics would be
impermissibly untethered to the specification. Because “main
collection” is a coined term with no “established meaning to one
of ordinary skill in the art,” it must be interpreted in light
of the specification and “cannot be construed broader than the

disciosure in the specification.” Indacon, Inc. v. Facebook,

 

Inc., 824 F.3d 1352, 1357 (Fed. Cir. 2016). The ’439
specification cleariy states that the invention incorporates the
characteristics of a stream. See, e.g., £439 patent, col. 1,
line 67-col. 2, line 3 (“The system is stream-based in that it
creates time-ordered streams of information items or assets,
beginning with the oldest and continuing through current and on
to future items.”); id., col. 2, line 67?-col. 3, line 2
(emphasis added) (“One can search on any word or phrase, as

every word in every document is indexed, on document types and

 

metadata, and on time-related data[.]”). The patentees’ use of
an undefined, coined term in the claim language cannot broaden
the invention described in the specification. See Retractable

Techs., Inc. v. Becton, Dickinson and Co., 653 F.3d 1296, 1305
(Fed. Cir. 2011) (construction must “tether the claims to what

the specifications indicate the inventor actually invented”).

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“Main collection” also cannot lack the characteristics of a
stream because those characteristics are what set the invention
apart from the prior art that the specification disavows. “Where
the general summary or description of the invention describes a
feature of the invention and criticizes other products that lack
that same feature, this operates as a clear disavowal of these

other products.” Edwards Lifesciences LLC v. Cook Inc., 582 F.3d

 

1322, 1333 (Fed. Cir. 2009). The specification of the '439
patent, like the '227 specification, specifically disavows the
“traditional storage and retrieval systems” that were not time-
ordered. '439 patent, col. 1, lines 49-67. Mirror Worlds’
construction fails because it seeks to capture, through claim
construction, the non-time-ordered systems the specification
specifically disavows.'

Accordingly, the Court construes “main collection” in claim

“a

1 of the ’439 patent as “main stream.” Because the Court
construes “main collection” as “main stream,” the analysis below

concerning the main stream limitation applies with equai force

to all the patents at issue.

 

15 Similarly, the fact that claim 1 of the ’439 patent contains vague language
leaving open the possibility that the “main collection” includes “at least
some,” but not necessarily all, of the decuments in the computer system, ‘439
patent, col. 16, line 29, does not save Mirror Worlds’ construction because
“the specifications tell us otherwise.” Retractable Techs., 653 F.3d at 1305;
see ‘439 patent, col. 3, line 1 (“every word in every document is indexed”);
id., abstract (emphasis added) (the system “automatically create[s] a main
stream in chronological order”).

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B.

The second step of infringement analysis “is comparing the
properly construed claims to the device accused of infringing.”
Markman, 52 F.3d at 976. Mirror Worlds alleges that three
Facebook features infringe the asserted patents: News Feed,
Timeline, and Activity Log.

Mirror Worlds pursues a theory of “literal infringement.”
“To establish literal infringement, every limitation set forth
in a claim must be found in an accused product, exactly.”

Advanced Steel Recovery, LLC v. X-Body Equipment, Inc., 808 F.3d

 

1313, 1319 (Fed. Cir. 2015). “Summary judgment of
noninfringement is proper when no reasonable jury could find
that every Limitation recited in a properly construed claim is
found in the accused device either literally or under the
doctrine of equivalents.” Id. at 1317. “The absence of even a
single limitation of [the asserted claims] from the accused
device precludes a finding of literal infringement.” Kahn v.
Gen. Motors Corp., 135 F.3d 1472, 1477 (Fed. Cir. 1998).

1.

Within News Feed, Mirror Worlds alleges that the Multifeed
System (the backend infrastructure for News Feed) is the
“computer system,” and that the Multifeed Leaves (a storage
system for keeping track of recent user actions) is the “main

stream.” Accordingly, to prove infringement, Mirror Worids must

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show that the Multifeed Leaves includes every data unit received
or generated by the Multifeed System. Facebook argues that it is
entitled to summary judgment of non-infringement because the
record conclusively establishes that the Multifeed System
contains data units that are not contained in the Multifeed
Leaves. Facebook bears the burden at this stage because it is
the party moving for summary judgment.

Facebook’s theory of non-infringement with respect to News
Feed focuses primarily on the Multifeed Aggregator. The
Multifeed Aggregator is part of the Multifeed System. Mao Decl.,
ECE No. 250-16 (9 6-7. Facebook argues that the Multifeed
Aggregator receives several categories of information that are
not stored in the Multifeed Leaves. The Court will address these

categories of information in turn.

Coefficient

Facebook argues that the Multifeed Aggregator receives
information known as “coefficient scores” from the “Coefficient
service.” ECF No. 241, at 15. “A coefficient score provides a
numerical weight that describes the strength of the relationship
between the user and a particular friend.” Mao Decl. 7 12. “The
[Multifeed] Aggregator uses these coefficient scores to
potentially boost candidate stories relating to friends with

whom the user has a closer relationship.” Id. Yun Mao, an

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Engineering Director at Facebook who leads the Feed and Stories
Infrastructure Team, unequivocally testified that coefficient
scores are received by the Multifeed Aggregator, and that
coefficient scores “are not stored in or received from the
[Multifeed] Leaves.” Id.

Mirror Worlds responds that “record evidence shows that the
‘coefficient score’ Facebook alleges is ‘received’ by the
Multifeed Aggregator is not received as part of the write
pathway for writing data to the Leaves.” Mirror Worlds’ RISMF qf
44. In support of this proposition Mirror Worlds cites a broad
statement from Gregory Marra, Facebook’s director of product
management: “I understand that leaves are where information from
News Feed are stored.” Id. (citing Tsuei Decl., Ex. 7, ECF Ne.
290-2, at 83). Because this general statement does not address
coefficient scores or how data is written to the Multifeed
Leaves or the Multifeed System, it is insufficient to create a
dispute of material fact.

Mirror Worlds also cites Exhibits 27, 28, and 30 to the
Tsuei Declaration. Id. Together, Exhibits 27 and 30 demonstrate
that the “Tailer” is used to write data to the Multifeed Leaves.
See Tsuei Decl., Ex. 27, ECF No. 290-19, at FBMW_00118300 (“[The
Tailer] is the input data pipeline that gets user actions to the
storage layer [the Leaves] in real time.”); id., Ex. 30, ECE No.

290-22, at FBMW_00136009 (diagram showing “Tailers” writing into

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“Feed Leaf”). Exhibit 28, ECF No. 290-20, at 1, does not discuss

the Taiier in particular, but states that “When a user takes any

action on Facebook, there are two independent pipelines that

record this action (i.e. a UserAction) to the Leaves.”

Mirror Worlds’ argument appears to be that information
cannot be in the Multifeed System (the alleged computer system)

unless it is “received through the Tailer[}].” ECF No. 288, at

18. This argument finds no support in the record. Facebook has
offered specific evidence that the Multifeed Aggregator (part of
the Multifeed System, the alleged computer system) receives data
(coefficient scores) that is not contained in the Mulitifeed

Leaves (the alleged main stream). Even if the record established

 

that there is only one path for
Multifeed Leaves (which it does

Rpt., ECF No. 250-19 4 204), it

that there is only one path for

Multifeed System. Mirror Worlds

information to get into the
not, see Ex. 28; Balakrishnan
would not necessarily follow
information to get into the

points to no evidence

demonstrating that the Tailer is the only pathway into the

Muitifeed System or the Multifeed Aggregator in particular.

Accordingly, Mirror Worlds’ attempt to show that there is only

one data pipeline into the Multifeed Leaves, even if successful,

would not create a dispute of material fact.

Mirror Worlds likewise misses the mark by arguing that

“Facebook has presented no evidence that the information

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identified in its motion .. . is user data received by the
Tailer[i.” ECF No. 288, at 19. Facebook does not need to show
that the data it points to is received by the Tailer to prove
non-infringement. Facebook need only prove that there is data in
the Multifeed System that is not contained in the Multifeed
Leaves. Moreover, Mirror Worlds’ insistence that Facebook point
specifically to “user data” that is contained in the alleged
computer system but not the alleged main stream is misleading.
The patents are clear that the main stream must contain every
data unit (of whatever type) that is received or generated by
the computer system. See, e.g., ’227 patent, col. 16, lines 9-10
(“A method which organizes each data unit received by or
generated by a computer system”); id., col. 4, lines 8-10
(“Every document created and every document sen[t] to a person
or entity is stored in a main stream.”); ECF No. 109-1, at

FBMW 00097563 (“A ‘data unit’ is a ‘document’ because a
‘document can contain any type of data.’”) .1 As Facebook
correctly notes, “That the Multifeed Leaves store user actions
(e.g., provided by the Tailer[]) is in no way inconsistent with

the Multifeed Aggregator receiving additional information beyond

 

% See also ‘538 patent, claim 1 (reciting a “main stream”); '439 patent,
claim 1 (reciting a “main collection,” which the Court has construed as “main
stream’); id., abstract (“main stream”); Omega Eng’g, Inc. v. Raytek Corp.,

 

334 F.3d 1314, 1334 (Fed. Cir. 2003) (“[Wle presume, unless otherwise
compelled, that the same claim term in the same patent or related patents
carries the same construed meaning.”}. ,

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user actions that is not stored in the Multifeed Leaves.” ECF
No. 300, at 4-5.17

Finally, Mirror Worlds argues that coefficient scores being
included in the Multifeed Aggregator but not the Multifeed
Leaves does not prove non-infringement because coefficient
scores are “queries,” and therefore not “data units” within the
meaning of the asserted patents. See ECF No. 288, at 15-16, 19-
20. First, Mirror Worlds has presented no evidence that
coefficient scores should be considered “queries.” Even if a
query is involved in getting coefficient scores from the
Coefficient service to the Multifeed Aggregator, the record is
clear that a coefficient score is an item of information that
the Multifeed Aggregator “receives and relies on.” Mao Deci. @
12. The coefficient score is not simply a request made to or
from the Multifeed Aggregator. Moreover, Mirror Worids’ argument
fails under the Court’s construction of “data unit.” A query is
plainly “an item of information,” which is also consistent with —
Mirror Worlds’ argument that “data unit” includes any type of

data.

 

17 Mirror Worlds’ “user data” argument also fails to the extent it is based on
Mirror Worlds’ construction of the term “data unit.” First, for the reasons
explained above, “data unit” does not contain an “of direct user interest”
limitation. Second, Mirror Worlds explicitly argues in its claim construction
brief that “data unit” should be construed to clarify that “data unit” can
refer to data in any format (that is, textual or otherwise). The Court
accepted that argument in construing “data unit” to mean “an item of
information.” Accordingly, there is no subject matter or format limitation
built into the term “data unit.”

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Facebook has established that the Multifeed Aggregator
(part of the Multifeed System, the alleged computer system)
receives coefficient scores, which are items of information that
are not contained in the Multifeed Leaves. Mirror Worids has
offered no evidence to the contrary. Accordingly, the News Feed
system does not infringe the asserted patents, and Facebook is
entitled to summary judgment of non-infringement with respect to

News Feed.

AdFinder

Facebook also argues that the Multifeed Aggregator receives
information from a system called “AdFinder,” and that this
information is not stored in the Mulitifeed Leaves. ECF No. 241,
at 15-16; Mao Decl. 77 9-10, 16; Facebook’s Statement of
Material Facts (“Facebook’s SMF”), ECF No. 241-1 (9 47-48;
Balakrishnan Rpt. (I 226, 229, 544-45, 563-064.

AdFinder generates advertisements relevant to a particular
user and provides those ads to the Multifeed Aggregator, Mao
Deci. { 16, Mr. Mao declared:

The interactions between AdFinder and the Multifeed

Aggregator involve the exchange of hundreds of pieces

of information that did not come from (and were not

stored in) the Multifeed Leaves, but other separate

and distinct storage systems within Facebook. The

candidate stories generated by the Multifeed

Aggregator corresponding to these advertisements thus

incorporate information that came from AdFinder and
that was not stored in the Multifeed Leaves.

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Id. Accordingly, there is unequivocal evidence in the record
that the Multifeed Aggregator receives information from AdFinder
that is not contained in the Muitifeed Leaves.

Mirror Worlds cites no evidence to the contrary. Mirror
Worlds cites deposition testimony from Facebook engineer Mainak
Mandal, Mirror Worids’ RTSMF { 4718 (citing Tsvei Decl., Ex. 15,
FCF No. 290-9, at 107-08), but this testimony supports Facebook.
Mr. Mandal testified that there are two types of stories in a
user’s fFeed—“ad stories” and “organic stories.” Tsuei Decl., Ex.
15, at 107-08. He further testified that the organic stories
(“any story that is not an ad”) “come from Muitifeed Leaves,”
while the ad stories are “generated on AdFinder.” Id. at 108.
This testimony supports Facebook’s argument that the Muitifeed
Aggregator contains information from AdFinder that is not stored
in the Multifeed Leaves.*?

The remainder of Mirror Worlds’ response to Facebook’s
Statement of Material Fact regarding AdFinder is identical to

Mirror Worlds’ response concerning Coefficient service. Compare

 

18 Mirror Worlds’ RISMF €{— 47 and 48, which both address AdFinder, are
identical in substance.

18 Mirror Worlds next cites deposition testimony from Mr. Mac, Mirror Worlds’
RISMF 7 47 (citing Tsuei Decl., Ex. 48, ECF No. 290-35, at 41). This
testimony supports the distinction Mr. Mandal drew between ad steries and
organic stories. See Tsuei Decl., Ex. 48, at 41 (“[organic content is]
actually net—-not from the ads bracket”). Mirror Worlds also cites the
deposition testimony of Facebook’s expert, Dr. Ravin Balakrishnan. RISMF { 47
(citing Tsuei Decl., Ex. 17, ECF No, 290-11, at 397-200). This testimony does
not help Mirror Worlds because Dr, Balakrishnan simply reiterates that ads
are not “organic content.” Tsuei Decl., Ex. 17, at 4199-200.

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Mirror Worlds’ RISMF q 47, with id. @ 44. The sources that are
duplicated from 7 44 fail to create a dispute of material fact
for the same reasons explained with respect to Coefficient
service: the sources do not address Adfinder in particular, and
Facebook does not need to show that the information from
AdFinder is “received as part of the write pathway for writing
data to the Leaves,” id. ¢ 47, to prove non-infringement. The
thrust of Facebook's argument is that the information from

AdFinder is not contained in the Leaves.

 

Also for the reasons explained with respect to Coefficient
service, Mirror Worlds’ argument that the information the
Multifeed Aggregator receives from AdFinder does not consist of
“data units” fails. Under the Court’s construction of “data
unit,” there is no “of direct user interest” limitation, and it
is plain that the Multifeed Aggregator receives items of
information from AdFinder.*° Accordingly, Facebook has
established that the Multifeed Aggregator receives information

from AdFinder that is not stored in the Multifeed Leaves.

Ego is a Facebook system that “generates recommendations,

for example, identifying other Facebock users whom the current

 

20 Mirror Worlds dees not argue, as it did with respect to coefficient scores,
that information from AdFinder is merely part of a query, and therefore not a
data unit. See ECF No. 288, at 19.

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user may wish to become friends (‘People You May Know’), or
Groups or Pages that might be of interest to the current user.”
Maco Decl. 7 17. As with information from AdFinder, Mr. Mao
declares: “The recommendation information provided by Ego to the
Multifeed Aggregator did not come from (and are not stored in)
the Multifeed Leaves, and thus, the candidate stories generated
by the Multifeed Aggregator to reflect those recommendations
incorporate information that was not stored in the Multifeed
Leaves.” Id.; see also Facebook’s SMF { 49; Balakrishnan Rpt. qq
236, 540, 563, 565.

Mirror Worlds cites no evidence to the contrary. Indeed,
Mirror Worlds’ RTSMF § 49 is identical to 4 47 (the response
concerning AdFinder), except the words “information from Ego”
replace the words “information from AdFinder.” Mirror Worlds
cites no record evidence to dispute that the Multifeed
Aggregator receives information from Ego that is not stored in
the Multifeed Leaves. For the reasons explained above, Mirror
Worlds’ arguments that (1) Facebook has net shown that
information from Ego is received “as part of the write pathway
for writing data to the Leaves,” Mirror Worlds’ RTSMF { 49, and
(2) the information from Ego is not a “data unit” (either
because it is part of a query or because it is not “of direct

user interest”) also fail. Accordingly, Facebook has established

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that the Multifeed Aggregator receives information from Ego that

is not stored in the Multifeed Leaves.

TAO, Recent Interactions, and ReadState

 

Facebook also argues that user information from TAO, as
well as recent interaction information and information calied
the “ReadState,” is received by the Multifeed Aggregator but not
contained in the Multifeed Leaves. However, there are issues of
fact that preclude these categories of data from being a basis
for summary judgment of non-infringement.

TAO is a “data store that provides access to cbhjects and
their associations with other objects.” Bronson Decl., ECF No.
123 q 20.21 Facebook argues that three categories of user
information that are not stored in the Multifeed Leaves are
received by the Multifeed Aggregator from TAO: “(1) a list of
‘Friends’ of the user for whom the News Feed is being prepared;
(2) the list of ‘Pages’ on Facebook that the user has liked, and
(3) the list of ‘Groups’ the user has joined.” ECF No. 241, at
14. Mirror Worlds, however, points to a Facebook document
concerning the Multifeed System that states: “A user's friends,

pages, liked, and other actions are also stored in the leaves.”

 

41 “Generally, the content Facebook users see is an amalgamation of ‘objects’
and ‘associations,’ which are two classes of data. Users, pictures, and
comments are types of objects, while associations describe the relationship
between objects. For example, if user ‘Alice’ posts a comment on Facebook, an
‘authorship’ association would connect Alice and the comment.” Mirror Worlds
Techs., 800 F. App’x at 904.

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Tsueil Decl., Ex. 27, at FBMW 00118300. The same document states

that the Multifeed Leaves “indexes all user actions.” Id.

 

(emphasis added); see also id. (“all of a user’s recent Actions
and Objects will be indexed”). This record evidence is
sufficient to create a dispute of material fact as to whether
lists of the user’s friends, pages liked, and groups joined are
stored in the Multifeed Leaves.

Facebook also argues that the Multifeed Aggregator receives
“recent interaction information” (“such as posts the user
recently liked or videos the user recently watched”) that is not
stored in the Multifeed Leaves. ECF No. 241, at 15; Mao Decl.
15. But, as explained in the previous paragraph, Mirror Worlds
cites record evidence to the effect that the Mulitifeed Leaves
indexes “all user actions,” which is sufficient to raise a
dispute of material fact as to whether recent interaction
information is stored in the Multifeed Leaves.

Finally, Facebook argues that the Mul tifeed Aggregator
receives information called the “ReadState,” “which informs the
Aggregator which stories were already recently presented to the
user.” ECF No. 241, at 15; see also Mao Decl. { 14. There is
record evidence that ReadState indexes all stories that a user
has seen along with those stories’ “respective timestamps
and view duration.” Tsuei Decl., Ex. 30, at FBMW 00136001. What

stories a user views, and for how long a user views those

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stories, could plausibly be considered “user actions,” which
record evidence suggests are indexed in the Multifeed Leaves.
Any ambiguity regarding whether “all user actions” includes the
Readstate information must be resolved in favor of Mirror Worlds
at this stage.

Accordingly, summary judgment of non-infringement cannot be
granted based on (1) the data that Facebook alleges is sent to
the Multifeed Aggregator by TAO, (2) recent interaction
information, or (3) ReadState.

In sum, with respect to News Feed, while Facebook is not
entitled to summary judgment of non-infringement based on data
received from TAO, recent interaction information, or ReadState,
Facebook is entitled to summary judgment of non-infringement on
three independent bases: the record conclusively establishes
that the Multifeed Aggregator (part of the Multifeed System, the
alleged computer system) receives information from (1)
Coefficient service, (2) AdFinder, and (3) Ego that is not |
stored in the Multifeed Leaves (the alleged main stream).

2.

Mirror Worlds alleges that two Facebook features in
addition to News Feed infringe the asserted patents: Timeline
and Activity Log. The parties treat Timeline and Activity Log
together because they are supported by the same backend

infrastructure. See ECF No. 241, at 16-17; ECF No. 288, at 12

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n.6; Tang Decl. 97 2. The Court will likewise discuss these two
features together. For purposes of Timeline and Activity Log,
Mirror Worlds alleges that the Timeline backend system is the
computer system, and that the TimelineDB is the alleged main
stream. See Facebook’s SMF (1 36-37; Mirror Worlds’ RTSMF {q 36-
37. Accordingly, to prove infringement, Mirror Worlds must show
that the TimelineDB includes every data unit received or
generated by the Timeline backend system.

The TimelineDB is “a database used within Facebook to keep
track of certain types of actions taken by users on Facebook.”
Tang Decl. 7 9. The “Timeline Aggregator” is part of the
Timeline backend system. Id. 9@ 7. The Timeline Aggregator, which
is used by both the Timeline and Activity Log features,
“deliver{s] a list of user engagements (or user actions) that
pertain to a particular user.” Id. 7 8. Similar to its argument
regarding News Feed, Facebook argues that the Timeline
Aggregator (part of the alleged computer system) receives
information that is not contained in the TimelineDB (the alleged
Iain stream). The Court will address each disputed set of

information in turn.

Background User Information

 

Facebook argues that the Timeline Aggregator receives

“extensive information about the user for whom the Timeline or

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Activity Log pertains including the user’s birthday, list of

family members, list of children, list of places previously

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lived, education history, among other information,” from “at

least two different storage systems”—TAO and UDB (user
database). ECF No. 241, at 16. The record contains unequivocal
evidence that this background user information is received by
the Timeline Aggregator and is not stored in the TimelinebDB.
Yifei Tang, an engineering manager at Facebook on the Timeline
team, declared:

The Timeline Aggregator component implements a complex
process that requires the Aggregator to receive and
rely on an extensive amount of information that is not
stored in the TimelineDB. For example, the “front end”
constructs a request to the Timeline Aggregator
that supplies the Aggregator with a number of pieces
of information relating to the user in question,
including the user’s birthday, list of family members,
List of children, list of places previously lived,
education history, along with other information about
that user. This information received by the Aggregator
is not stored in the TimelineDB but was instead
obtained from “TAO” and “UDB” (user database), storage
systems that are separate and distinct from the
TimelineDB.
Tang Decl. ¢ 10; see also Balakrishnan Rpt. Qf 307-09.
Mirror Worlds attempts to create an issue of fact with
respect to this clear evidence, but none of its attempts are
sufficient. Mirror Worlds cites various exhibits that
purportedly stand for the propositions that the TimelineDB “is a

‘backend system that persists all actions by users and pages and

indexes them chronologically” and that “everything relating to

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[the user!” is contained in the TimeiineDB. See ECF No. 288, at
4, 12-13; Koskinen Decl., ECF No. 145 § 74. But the documents
cited for these propositions actually refer to “Pimeline” (the
backend system writ large), not the TimelineDB. See Tsuei Decl.,
Bx. 37, ECF No. 290-29, at FBMW 00007832; id., Ex. 35, ECF No.
290-27, at FBMW 00098325. Counsel for Mirror Worids and Mirror
Worlds’ expert, Dr. Eric Koskinen, simply changed the subjects
of the quoted sentences.*? Because these documents do not
describe the TimelineDB, they do not stand for the proposition
that the TimelineDB contains all background user information
contained in the Timeline backend system.

Mirror Worlds also cites evidence that there is a path from
TAO to the TimelineDB. See id., Bx. 24, ECF No, 290-16, at
FBMW 00000211. But this does not establish that all data from
TAO is contained in the TimelineDB; nor does it establish that
background user information in particular (birthday, list of
family, places lived, etc.) is stored in the TimelineDB. And

while Mirror Worlds points to snippets of the testimony of

 

22 In other portions of their papers, counsel for Mirror Worlds and Dr.
Koskinen demonstrate an understanding of this distinction. See Mirror Worlds’
RTSMF 9 36 (“Mirror Worlds contends that the ‘computer system’ fer its theory
of infringement by Facebook’s Timeline and Activity Log features is the
‘Timeline Backend’ system.”); id. 9 37 (“Mirror Worlds contends the
TimelineDB is a ‘main stream[.]‘”); ECF No. 286, at 4 (arguing that “the
Timeline Backend system stores in the TimelineDB all user data that may
appear in Timeline or Activity Log in time-order”}; Koskinen Decl. 9 26 (“The
Timeline backend system includes the “TimelineDB%}. This distinction was also
made clear by the court of appeais. See Mirror Worlds Techs., 800 F. App’x at
904 {“The Timeline back-end system includes the TimelineDB database and an
Aggregator.”).

 

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Jeffrey Huang, Director of Engineering at Facebook, none of
those snippets contradict the clear testimony of Mr. Tang that
the Timeline Aggregator receives background user information
that is not contained in the TimelineDB. Tang Decl. € 10.

For example, Mirror Worlds cites testimony from Mr. Huang
that casts some doubt as to whether TAO is properly referred ro
as a storage system. E.g., Huang Depo., ECF No, 290-4, at 37
(TAO is “an interface to fetch data, but I wouldn’t necessarily
say that it is a way to store the data.”). However, whether TAO
is properly referred to as a storage system is not a material
fact. “Only disputes over facts that might affect the outcome of
the suit under the governing law will properly preclude the
entry of summary judgment.” Anderson, 477 U.S. at 248. Facebook
has adduced clear evidence that the Timeline Aggregator receives
background user information that is not stored in the
TimelLineDB. Mirror Worlds points to no evidence fo the contrary.
Tt is not material whether TAO (1) stores the background user
information and delivers that information to the Timeline
Aggregator, or (2) is an interface that is responsible for
sending the background user information to the Timeline
Aggregator.?? Accordingly, this dispute is one of terminology and

does not affect the outcome of the non-infringement dispute.

 

23 Nathan Bronson, a Facebook engineer who helped implement TAO, explained
that, “when News Feed, Timeline, Activity Log [and other features} seek to
retrieve objects such as photos and comments from Facebook's data store, it

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Mirror Worlds also cites a diagram illustrating a portion
of the accused system, and emphasizes that the diagram “show[s]
no interaction between UDB, TAO or Coefficient with the
Aggregator.” ECF No. 288, at 14 (citing Tsuei Decl., Ex. 26, ECF
No. 290-18, at FBMW 00014972). But this diagram does not appear
to depict TAO at all. It is undisputed that TAO exists, and the
record is clear that the Timeline and Activity Log features
could not function without TAO. See, e.g., Huang Depo. at 128
(“{Slo in any form of rendering Timeline or Activity Log you
have to have TAO.”)}. Moreover, when counsel for Mirror Worlds
confronted Mr. Huang at his deposition with diagrams such as
this one that do not explicitly reference TAO, Mr. Huang
explained (1) that references to data sources that TAO can fetch
from, such as UDB, could be understood as references to TAO; and
(2) that the diagrams alluded to focus on specific aspects of
the Timeline service that do not include the role of TAO, see
id. at 128 (“ [TAO is] not part of this diagram because these are
very infra, very backend heavy documents and diagrams.
just because it’s not there doesn’t mean it doesn’t exist.”);

id. at 130 (A: “The diagrams that we’ve been looking at, again,

 

is PAO that retrieves and delivers an up-to-date version of those objects to
the features.” “In cases where the data associated with an object is very
large, such as for photos and videos, an object is stored in TAO that
contains enough information to fetch the full contents from a separate system
specially optimized for that data type. For most objects, TAO stores all of
the data directly ... .” Bronson Decl. 97 4, 21-22. This descripticn
confirms that TAO acts both as a storage system and as a go-between that
fetches data for the accused features from elsewhere.

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are very zoomed in on a specific piece of --” Q: “Mr. Huang,
it’s a ‘yes’ or ‘no’ question.”). Accordingly, the lack of
interaction between the Timeline Aggregator and UDB or TAO in
any particular diagram does not create a dispute of material
fact.

Mirror Worlds also relies on statements by its expert, Dr.
Koskinen. But those conclusions are not supported by the
evidence in the record. See, e.g., Koskinen Rpt., ECF No. 279-1
q] 114 (stating without citing any evidence that the TimelineDB
is a “main stream”). Moreover, Dr. Koskinen’s statements rely on
documents where Dr. Koskinen has simply changed the subject of
the quoted sentence from “Timeline” to “the TimelineDB.”

Compare, e.g., id. {115 (“TimelineDB is a ‘time-ordered index

 

for all time[.]’”), with Tsuei Deci., Ex. 54, ECF No. 290-37, at
slide 5 (“Timeline: Time-ordered index for all time”). Dr.
Koskinen’s conclusory statements are not supported by the
underlying documents and are therefore not entitled to any
weight.

Mirror Worids appears to argue that data cannot enter the
Timeline backend system (the accused computer system) unless
that data goes through what Mirror Worlds asserts is the

designated path for writing data into the TimelineDB (the

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accused main stream) .*4 This argument, like Mirror Worlds’
argument concerning the Tailer and the Multifeed System, finds
no support in the record. Facebook has presented evidence that
data is received by the Timeline Aggregator that is not
contained in the TimelineDB. E.g., Tang Decl. { 10. The
testimony of Mr. Huang {and other sources relied on by Mirror
Worlds) only speak to how data is written into the TimelineDB.
But even if Mirror Worlds could demonstrate that there is only
one pathway for writing data into the TimelineDB, Mirror Worlds
has presented no evidence that there is only one pathway for
writing data into the Timeline backend system or the Timeline
Aggregator in particular. To prove non-infringement, Facebook
does not need to show that the data that is inciuded in the
Timeline Aggregator is received as part of the pathway for
writing data into the TimelineDB. Rather, Facebook need only
show that data received by the Timeline Aggregator is not
included in the TimelineDB, and Facebook has done so.
Accordingly, Mirror Worlds’ argument concerning the write
pathway to the TimelineDB fails to create a dispute of material

fact.

 

#4 See ECF No, 288, at 14 (“Timeline utilizes a write path to store ‘user
data’—-to ‘persist activities’—in the TimelineDB, and a separate read path to
‘get activities.’ Writing user data to the backend requires specific function
calls. Facebook has presented no evidence that any of its newly-identified
information is subject to any such function call . . . .”); Mirror Worlds’
RTSMF 9 51 (emphasis added} (“[R]ecord evidence shows that the information .

Facebook alleges is ‘received’ by the Timeline Aggregator is not received
at all, or received as part of the write pathway for writing data to the
TimelineDB.”}.

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The court of appeals found that summary judgment was not
warranted on the record of the first summary judgment motion
with respect to TAO and the Timeline and Activity Log features.
see 800 F. App’x at 908-09. Most of the court cf appeals’
discussion of this issue focused on Facebook’s failure to
provide definitive evidence that the Timeline Aggregator
receives the asserted evidence from TAO. That defect in
Facebook's argument has been cured because there is now
unequivocal evidence that the Timeline Aggregator receives
background user information from TAO. See Tang Decl. @{ 10;
Balakrishnan Rpt. 9% 307-09.

The court of appeals also highlighted evidence suggesting
that the frontend, rather than the Timeline Aggregator, receives
the data from TAO referenced by Facebook. See 800 F. App’x at
909. The court of appeals cited Mr. Huang’s testimony that “it’s
really the web tier that I consider the frontend that then, you
know, needs to go to TAO to actually fetch any of the content.”
id. (quoting Huang Depo., at 29-30). In light of the fully-
developed record, this testimeny does not create a dispute of
material fact. That the frontend queries TAO, and that the
frontend receives data from TAO, is not inconsistent with the
Timeline Aggregator receiving background user information from
TAO, Mr. Huang did not testify that the frontend is the only

destination to which TAO sends data. Moreover, there is record

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evidence specifically establishing that TAO sends background
user information to the Timeline Aggregator. See Tang Decl. #
10; Balakrishnan Rpt. (Tf 307-09. Finally, this testimony does
not reflect at all on the relationship between UDB and the
Timeline Aggregator. Because Facebook has provided evidence that
background user information that is not stored in the TimelineDB
is received by the Timeline Aggregator from both TAO and UDB,
this testimony dces not create a dispute of material fact as to
whether the Timeline Aggregator receives background user
information that is not contained in the TimelineDB.

As it argued with respect to the News Feed feature, Mirror
Worlds argues that, even if the Timeline Aggregator receives
background user information that is not contained in the
TimelineDB, that would not establish non-infringement because
background user information does not consist of “data units.”
Mirror Worlds’ RTSMF { 51. This argument fails. The background
user information consists of items of information.

Accordingly, the record establishes that the Timeline
Aggregator receives background user information that is not
contained in the TimelineDB. Facebook is entitled to summary
judgment of non-infringement with respect to the Timeline and

Activity Log features on this basis.

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Major Life Events

Facebook also argues that the Timeline Aggregator receives
a list of a user’s major life events, such as graduations,
marriages, or moving to a new city. See ECF No. 241, at 17;
Facebook’s SMF ¥ 52. Facebook points to unequivocal evidence
that this major life event information is received by the
Timeline Aggregator from TAO or UDB, and that this data is not
stored in the TimelineDB. Tang Decl. 7 11; see also Balakrishnan
Rpt. 9 254, 256-57, 307, 317, 337.

Mirror Worlds’ RTSMF § 52 is identical to its RISMF @ 51,
other than replacing background user information with “major
life events.” Accordingly, for all the reasons explained in
connection with background user information, Mirror Worlds has
failed to create a dispute of material fact as to whether the
Timeline Aggregator receives major life event information that
is not contained in the TimelineDB. None of the sources cited by
Mirror Worlds in its RTSMF { 52, on their own or taken together,
establish either that the TimelineDB contains major life event
information, or that the Timeline Aggregator does not receive
major life event information. Mirror Worlds’ argument that this
information does not consist cf “data units” also fails because
this information meets the Court’s construction of “data unit.”

Therefore, Facebook is entitled to summary judgment of non-

infringement with respect to Timeline and Activity Log for the

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independent reason that it has proven beyond reasonable dispute
that the Timeline Aggregator receives major life event

information that is not centained in the TimelineDB.

Coefficient

Finaliy, Facebook argues that the Timeline Aggregator
receives information from the Coefficient service (discussed
above with respect to News Feed) that is not contained in the
TimelineDB. See ECF No. 241, at 16-17; Facebook’s SMF @ 33.
Facebook again points to unequivocal testimony that this
information, which is used by the Timeline Aggregator to
identify a user’s degree of engagement with other users, is not
stored in the TimelineDB. Tang Decl. 9 12; see also Balakrishnan
Rpt. WH 246, 300-01, 307-09, 313.

Mirror Worlds’ RTSMF 7 53 is identical to its RTSMF (7 5i-
52, except for inserting the phrase “coefficient score” in place
of background user information or major life events.
Accordingly, for all the reasons explained in connection with
background user information, Mirror Worlds has failed to create
a dispute of material fact as to whether the Timeline Aggregator
receives data from the Coefficient service that is not contained
in the TimelineDB. Mirror Worlds’ argument that this information

does not consist of “data units” fails here as well.

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Therefore, Facebook is entitled to summary judgment of non-
infringement with respect to Timeline and Activity Log on the
independent basis that the Timeline Aggregator receives data
from the Coefficient service that is not contained in the
TimeLlineDB.

To sum up regarding Timeline and Activity Log: Facebook is
antitled to summary judgment of non-infringement with respect to
these two features because Facebook has proven that the Timeline
Aggregator receives the following data that is not contained in
the TimelineDB: (1) background user information; (2) major life
event information; and (3) coefficient data. Each of these sets
of information constitutes an independent basis entitling
Facebook to summary judgment of non-infringement with respect to
Timeline and Activity hog.

3.

The absence of a “main stream” and “main collection’?5 in
the accused features means that Facebook is entitled to summary
judgment of non-infringement with respect to all the asserted
claims. Facebook aiso urges an additional ground of non-
infringement with respect to the asserted claims of the ‘538 and
‘439 patents: namely, that none of the accused Facebook features

contain a “glance view” limitation.

 

25 The ‘227 patent and the '538 patent explicitiy recite a main stream
iimitation, see ‘227 patent, claim 13; ‘538 patent, claim 1. The ‘439 patent
contains a “main collection” limitation, which the Court has construed to be
equivalent to a main stream limitation. See '’439 patent, claim 1.

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Claim 1 of the '538 patent and claim 1 of the '439 patent
each contain a “glance view” limitation. See '538 patent, col.
16, lines 55-60; ’439 patent, col. 17, lines 34-41. The patents
explain that the glance view is intended to “make searching for
and working with a document more intuitive.” ‘538 patent, col.
3, lines 44-45; see also 7439 patent, col. 3, lines 46-47. The
glance view provides a preview of a document to a user who is
scrolling through a stream of documents, “such as a thumbnail
image of the first page of the document, a WAV or MP3 preview of
an audio file, [] an animated GIF preview of a video file,” or
“text summaries.” ‘538 patent, col. 7, lines 20-26; see also
id., col. 2, lines 62-63; '439 patent, col. 7, lines 23-29.
Claim 1 of both patents requires the glance view to be “an
abbreviated version of the document” being depicted and
“indicative of content therecf.” ’538 patent, col. 16, lines 59-
60; £439 patent, col. 17, lines 39-41.%° The patents also explain
that the glance view appears in response to “touching with a
cursor a screen area associated with the document.” '538 patent,
col, 16, lines 57-58; see also °439 patent, col. 17, lines 42-
47.

Mirror Worlds contends that the glance view limitation of

the asserted claims of the ‘538 and ’439 patents is satisfied by

 

26 Mirror Worlds says this “summary” limitation only appears in the
specification, ECF No. 288, at 22, but that is plainly not true. Mirror
Worlds simply ignores the claim language that says the glance view must be
“an abbreviated version of the document” and “indicative of content thereof.”

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a Facebook functionality in which the user can “hover” the
user’s cursor over a profile link (such as a link associated
with a Page on Facebook). Facebook’s SMF 7 61; Mirror Worlds’
RESMF {@ 61. Facebook has offered evidence demonstrating that
this hover functionality does not meet the glance view
limitation. See Tang Decl. (WU 15-19. Specifically, Facebook has
snown that its hover functionality (or the “contextual dialog
box,” id. 9 14) provides only information about the source or
author of the selected link, not information about the content
of any underlying document. See id. 7 16. Facebook illustrates
that two stories from the same author relating to completely
different topics will yield the same contextual dialog box. See
id. (9 17-18. Moreover, Mr. Tang declares that the content of
the underlying story or document is not even provided to the
source code responsible for creating the contextual dialog box.
Id. @ 19. Accordingly, the contextual dialog box does not
display—or even take into account—the content of the underlying
document, and so it is not “an abbreviated version of the
document” or “indicative of content thereof,” '538 patent, col.
16, Lines 59-60; '439 patent, col. i7, lines 39-41.

Mirror Worids points to screenshots that allegedly
illustrate that the contextual dialog box does provide
information about the content of the underlying document. See

ECF No. 288, at 23; Koskinen Rpt. UE 179, 184, 189, 194, 199,

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361, 366, 371, 378, 384 (reproducing same three screensnots).
Dr. Koskinen copied these screenshots from the Compiaint. id.
179. The Complaint alleges that these three screenshots came
from third-party websites. Compl., at 30-32.

Facebook argues that all of Dr. Koskinen’s testimony
relying on these third-party materials should be excluded. The
Court agrees. One of the screenshots was taken from a YouTube
video that no longer exists and was never produced. See
Balakrishnan Rpt. I 443. Dr. Koskinen admits that he was not
involved in creating any of the screenshots, and ne testified
that he could not tell when the images were taken, when they
were archived, whether they had been cropped, or even what user
action prompted the creation of the asserted glance view. See
Koskinen Depo., ECF No. 227-4, at 116, 119-20, 127, 129, 131.

These screenshots are not independently admissible because
they cannot be authenticated. See Fed. R. Evid. 901. Mirror
Worids offers no evidence to support a finding that these
screenshots are what they purport to be. Instead, Mirror Worids
invokes Federal Rule of Evidence 703, which aliows an expert to
rely on inadmissible facts or data “[i]f experts in the
particular field would reasonably rely on those kinds of facts
or data in forming an opinion on the subject.” Tt is plainly
unreasonable for a technical expert to rely on unauthenticated,

undated screenshots in forming an opinion. See Bd. of Trustees

 

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of AFTRA Ret. Fund v. JPMorgan Chase Bank, N.A., No. 09-cv-686,

 

2G11 WL 6288415, at *9-10 (S.D.N.Y¥. Dec. 15, 2011) (screenshot
unreliable basis for expert opinion “where the expert does not
know the source of the documents and cannot guarantee its
reliability”). Relying on the screenshots in this case is
especialiy unreasonable because Dr. Koskinen cannot verify what
user action produced the asserted glance view, and Dr. Koskinen
had access to the source code for the accused feature.??
Accordingly, Facebook’s motion to exclude the opinions of
Dr. Koskinen that rely on unauthenticated screenshots purporting
to demonstrate the accused glance view functionality is granted.
Mirror Worlds presents no admissible evicence to create a
dispute of material fact as to whether Facebook’s contextual
dialog box indicates the content of the underlying story or
document. Facebock’s evidence establishes that its hover
functionality does net meet the glance view limitation.
Therefore, summary judgment of non-infringement as to the
asserted claims of the '538 and ‘439 patents is appropriate on

this basis as well.

 

27 The cases cited by Mirror Worlds are not to the contrary. RMail Ltd. v.
Amazon.com, Inc., No. 2:10-cv-258, 2019 WL 10375642, at *2 (E.D. Tex. June
12, 2019) involved a screenshot offered to prove notice of infringement, not
a screenshot relied on by an expert to show infringement. The screenshots in
TCON Internet Competence Network B.V. v. Travelocity.com LP, No. 3:ll-cv-
2131, 2013 WL 655024, *4 (N.D. Tex. Feb. 22, 2013) were offered to show prior
disclosure of an expert’s theory. The screenshots in DE Techs., Inc. v. Dell,
tIne., No. 7:04-cv-628, 2007 WL 1112406, at *29 (W.D. Va. Apr. 9, 2007} were
offered to illustrate the functionality of a prior art system. None of these
cases involve a challenge to an expert’s use of unauthenticated screenshots
to demonstrate infringement.

 

 

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Vv.

The Court need not reach the remainder of the parties’
disputes. Because the Court concludes that there was no
infringement of the asserted patents as a matter of law, this
was necessarily not an “egregicus” case of willful infringement

warranting enhanced damages. See Halo Hiecs., Inc. v. Pulse

 

Elecs., Inec., 579 U.S. 93, 104 (2016). The Court need not reach
the remainder of Facebook’s motion to exclude certain opinions
of Dr. Koskinen, ECF No. 223 (that is, all of the motion except
the section regarding “giance view”) because the remaining
opinions are not relevant to the Court’s summary judgment
ruling. The Court does not need to reach Facebook’s motion to
exclude the opinions of Mr. Bergman, ECF No. 228, because those
opinions relate only to damages. The Court need not reach Mirror
Worids’ motion for partial summary judgment of no invalidity
based on Facebook’s prior art defenses, ECF No. 233, because the
Court grants Facebook’s motion for summary judgment of non-
infringement. The Court need not reach Mirror Worlds’ motion to
exclude certain opinions of Facebook’s expert witnesses, ECF No,
236, because the Court did not need to consider (1} Facebook's
invalidity theories based on prior art, or (2) Dr.
Balakrishnan’s opinions regarding the summary of Mirror Worlds’
prior infringement accusations in deciding Facebook’s motion for

summary judgment. Finally, the Court need not reach Mirror

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Worlds’ motion to strike certain opinions of Mr. Bokhart, ECF
No. 246, because those opinions relate only to damages.
CONCLUSION

The Court has considered all of the arguments raised by the
parties. To the extent not specifically addressed above, the
arguments are either moot or without merit. For the reasons
explained above, Facebook’s motion for summary judgment is
granted in part and denied in part. The Court concludes that the
asserted claims are patent-eligible under § 101, and that there
was no infringement in this case as a matter of law. The
evidence establishes that no reasonable juror could find that
Facebook infringed the patents at issue.

The Clerk is directed to enter judgment dismissing this
case, The Clerk is also directed to close all pending motions
and to close this case.

SO ORDERED.
Dated: New York, New York

March 2, 2022 — aN i oo

i John G. Koeitl
United States District Judge

 

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